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   4
   Entered on Docket
   March 08, 2023
__________________________________________________________________
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   6
       STEPHEN R. HARRIS, ESQ.
   7
       Nevada Bar No. 001463
   8   HARRIS LAW PRACTICE LLC
       850 E. Patriot Way, Suite F
   9   Reno, NV 89511
       Telephone: (775) 786-7600
  10
       Facsimile: (775) 786-7764
  11   Email: steve@harrislawreno.com
       Attorneys for Nate and Michelle Mudd
  12   and Home Run Northstar, LLC
  13                             UNITED STATES BANKRUPTCY COURT
  14                                 FOR THE DISTRICT OF NEVADA
  15                                                *****
                                                        BK-22-50366-nmc
  16     IN RE:
                                                        (Chapter 11)
  17
         SCOTT A. CORRIDAN,                                ORDER EXTENDING TIME TO FILE
  18                                                       COMPLAINT OBJECTING TO
                               Debtor.                     DISCHARGEABILITY OF DEBTS
  19
  20                                                       Hearing Date: February 7, 2023
                                                           Hearing Time: 2:00 p.m.
  21
         __________________________________/
  22
  23          The MOTION FOR ORDER EXTENDING TIME TO FILE COMPLAINT OBJECTING
  24   TO DISCHARGEABILITY OF DEBTS (Docket No. 107) (“Motion”), came before the Court for

  25   hearing on after notice to all creditors and parties in interest on February 7, 2023, at 2:00 p.m.;

  26   with Stephen R. Harris, Esq. of Harris Law Practice LLC appearing telephonically on behalf of

  27   Creditors Nate and Michelle Mudd and Home Run Northstar, LLC, and no other parties

  28   appearing; and with the Court having considered all of the papers and pleadings on file herein,



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 1   and no opposition having been filed; with the Court having considered the relief requested, and
 2   good cause appearing:
 3          IT IS HEREBY ORDERED that the Motion is approved, and the deadline for Creditors
 4   Nate and Michelle Mudd and Home Run Northstar, LLC to file a complaint to determine the
 5   nondischargeability of their debts pursuant to Section 523(a)(2), (4) and (6) is extended for 60
 6   days from December 30, 2022, to and including February 28, 2023.
 7
 8   Submitted by:
 9
     STEPHEN R. HARRIS, ESQ.
10   HARRIS LAW PRACTICE LLC

11    /s/ Stephen R. Harris
     _______________________________
12
     Attorneys for Nate and Michelle Mudd
13   and Home Run Northstar, LLC

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 1                                 CERTIFICATION RE: RULE 9021
 2          In accordance with Local Rule 9021, counsel submitting this document certifies that the
 3   order accurately reflects the court’s ruling and that (check one):
 4
 5          _____ The court has waived the requirement set forth in LR 9021(b)(1).
 6          __ X__ No party appeared at the hearing or filed an objection to the motion.
 7               __ I have delivered a copy of this proposed order to all counsel who appeared at the
 8          hearing, and any unrepresented parties who appeared at the hearing, and each has
 9          approved or disapproved the order, or failed to respond, as indicated below [list each party
10          and whether the party has approved, disapproved, or failed to respond to the document]:
11
12          _____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
13          order with the motion pursuant to LR9014(g), and that no party has objected to the form
14          or content of the order.
15
16          Dated this 7th day of March, 2023.
17
18
19
20                                                 /s/ Stephen R. Harris
                                                   ___________________________________
21                                                 Stephen R. Harris, Esq.
22                                                 HARRIS LAW PRACTICE LLC

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